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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               READING DIVISION


IN RE: CHAKA ASKIA ROGERS                     )
         Debtor(s)                            )   CHAPTER 13
                                              )
CREDIT ACCEPTANCE CORPORATION                 )   CASE NO. 20-13976-PMM
        Moving Party                          )
                                              )   11 U.S.C. 362
     v.                                       )
                                              )
CHAKA ASKIA ROGERS                            )   HEARING DATE: 3-16-21 at 10:00 AM
       Respondent(s)                          )
                                              )
SCOTT F. WATERMAN                             )
        Trustee                               )
                                              )

       NOTICE OF MOTION, RESPONSE DEADLINE, AND HEARING DATE

     Credit Acceptance Corporation has filed a Motion For Relief From The Automatic Stay
    with the Court for relief from the automatic stay of 11 U.S.C. 362.

      Your rights may be affected. You should read these papers carefully and discuss
    them with your attorney, if you have one in this bankruptcy case. (If you do not have
    an attorney, you may wish to consult an attorney.)

           1. If you do not want the court to grant the relief sought in the motion or if you
    want the court to consider you views on the motion, then on or before February 9, 2021
    you or your attorney must do all of the following:

                     (a) file an answer explaining your position at:
                                 United States Bankruptcy Court
                                     The Gateway Building
                                        201 Penn Street
                                       Reading, PA 19601

      If you mail an answer to the bankruptcy clerk’s office for filing, you must mail it
     early enough so that it will be received on or before the date stated above; and

                     (b) mail a copy to the movant’s attorney:
                            Morton & Craig LLC
                            Attn.: William E. Craig, Esquire
                            110 Marter Avenue, Suite 301
                            Moorestown, NJ 08057




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             2. If you or your attorney do not take the steps described in paragraphs 1(a) and
      1(b) above and attend the hearing, the court may enter an order granting the relief
      requested in the motion.

              3. A hearing on the motion is scheduled to be held before the Honorable
      Patricia M. Mayer on March 16, 2021 at 10:00 am in United States Bankruptcy Court,
      The Gateway Building, 201 Penn Street, Reading, PA 19601.

              4. If a copy of the motion is not enclosed, a copy of the motion will be provided
      to you if you request a copy from the attorney named in paragraph 1(b).

            5. You may contact the Bankruptcy Clerk’s office at 610-208-5040 to find out
      whether the hearing has been canceled because no one filed an answer.


      Date: 2/22/21

                                    /s/ William E. Craig
                                    William E. Craig, Esquire
                                    Morton & Craig LLC
                                    Attorney for Credit Acceptance Corporation




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